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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


FINCO PRIME CONSULTING CORPORATION, SWEETPEA
VENTURES INC., MJT PARK INVESTORS, INC., MICHAEL
TOPOREK, AND MATTHEW LIPMAN, derivatively on behalf of                       No. 22-cv-00952 (DLC)
BROOKSTONE PARTNERS MOROCCO S.A.,

                                            Plaintiffs,
                             - vs -

OMAR BELMAMOUN,
                                           Defendant,                         PLAINTIFFS’
                                                                            NOTICE OF APPEAL
                            and

BROOKSTONE PARTNERS MOROCCO S.A.,

                                           Nominal Defendant.

       Notice is hereby given that Plaintiffs appeal to the United States Court of Appeals for the

Second Circuit from the Opinion and Order dated February 3, 2023 (ECF No. 48) and Judgment

entered on February 3, 2023 (ECF No. 49) granting Defendant Omar Belmamoun’s Motion to

Dismiss Verified Complaint on the grounds of forum non conveniens and dismissing the case with

prejudice.

       DATED: March 3, 2023

                                                            Respectfully Submitted,

                                                            NIXON PEABODY LLP

                                                            /s/ Daniel J. Hurteau
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